763 F.2d 312
    Henry Sheldon WEBB, Appellant,v.ARRESTING OFFICERS, et al., Appellees.
    No. 84-1196-NE.
    United States Court of Appeals,Eighth Circuit.
    May 13, 1985.
    
      Before LAY, Chief Judge, and ROSS and McMILLIAN, Circuit Judges.
    
    ORDER
    
      1
      This case was remanded to the district court on December 4, 1984, with directions to the trial court to determine whether, in light of Smith v. Wade, 461 U.S. 30, 103 S.Ct. 1625, 1629, 75 L.Ed.2d 632 (1983), punitive damages would be appropriate in this case, 749 F.2d 500 (8th Cir.1984).  That question has now been answered in the negative by Judge Urbom in an order issued April 23, 1985.
    
    
      2
      After careful study of the order and the record, the judgment of the district court is now affirmed in its entirety.
    
    